        Case 2:10-cr-00287-GMN-VCF           Document 342        Filed 09/01/17     Page 1 of 16




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     Acting United States Attorney
 2   District of Nevada
 3
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 4   Assistant United States Attorney
     501 Las Vegas Boulevard South, Suite 1100
 5   Las Vegas, Nevada 89101
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 6   Mark.Woolf@usdoj.gov
 7
     Attorneys for the United States
 8
                               UNITED STATES DISTRICT COURT
 9
                                       DISTRICT OF NEVADA
10
      UNITED STATES OF AMERICA,                      )
11                                                   )   Case No.: 2:10-CR-00287-GMN-VCF
                     Plaintiff/Judgment Creditor,    )
12                                                   )   UNITED STATES’ EX PARTE
13           v.                                      )   APPLICATION FOR WRIT OF
                                                     )   CONTINUING GARNISHMENT
14    JASON KELLOW,                                  )   AGAINST DEFENDANT JASON
                                                     )   KELLOW
15                   Defendant/Judgment Debtor,      )
                                                     )
16    and                                            )
17                                                   )
      PETER LIK RETAIL USA, INC, and its             )
18    successors or assigns,                         )
                                                     )
19                   Garnishee.                      )
                                                     )
20                                                   )
21          In accordance with 18 U.S.C. § 3613 and 28 U.S.C. §§ 3002, 3202, and 3205, the United
22   States of America (“United States”) applies for issuance of a Writ of Continuing Garnishment
23   for substantial nonexempt property belonging to or due Defendant/Judgment Debtor Jason
24   Kellow (“Kellow”).
25          This Court entered judgment against Kellow on April 4, 2013, such judgment including
26   an order of restitution in the amount of $1,000,000.00, payable jointly and severally. ECF No.
27   208. As of August 30, 2017, $13,547.00 has been paid toward the restitution leaving a principal
28   balance on the restitution of $987,053.00. The judgment is collecting interest at 0.130%, said

                                                    1
         Case 2:10-cr-00287-GMN-VCF              Document 342          Filed 09/01/17       Page 2 of 16




 1   interest having accrued in the amount of $5,605.57 from the fifteenth day after the judgment was

 2   entered. Thus, inclusive of both principal and interest, there is an outstanding balance on the

 3   judgment of $992,658.57. Pursuant to 18 U.S.C. § 3613(c), upon entry of judgment a lien arose

 4   against all of Kellow’s property and rights to property. 1

 5           Kellow’s full name is Jason Joseph Kellow. His social security number is ***-**-9491.

 6   His last known address is Las Vegas, Nevada 89135. 2 More than 30 days have elapsed since

 7   demand for payment of the debt was made, but payment has not been made.

 8           To enforce the judgment entered against Kellow in this matter, the United States requests

 9   that a Writ of Continuing Garnishment be issued for service upon the Garnishee, whose name,

10   address, and authorized agent/s are:

11           Peter Lik Retail USA, Inc.
             c/o Oshins & Associates, Registered Agent
12           c/o Peter Lik, President
             1645 Village Center Circle, Suite 170
13
             Las Vegas, NV 89134
14           The Garnishee and its affiliates, successors, or assigns are believed to be in possession,
15   custody, or control of substantial nonexempt property belong to or due Kellow, including but not
16   limited to nonexempt disposable earnings. 3
17           To prevent the transfer or dissipation of nonexempt assets, applications for writs under
18   the Federal Debt Collection Procedures Act, 28 U.S.C. § 3001 et seq., are necessarily submitted
19   ex parte without notice to judgment debtors and their insiders until after process has been served
20   on whomever is holding the subject property. After the Garnishee has been served, pursuant to
21
     1
22    18 U.S.C. § 3613 is applicable to enforcement of a restitution order pursuant to 18 U.S.C. §
     3664(m)(1)(A)(i).
23
     2
      Kellow’s social security number and address have been redacted pursuant to LR IC 6-1 and Fed. R.
24   Civ. P. 5.2.
25   3
       “‘Earnings’ means compensation paid or payable for personal services, whether denominated as
     wages, salary, commission, bonus, or otherwise, and includes period payments pursuant to a pension or
26   retirement program.” 28 U.S.C. § 3002(6). “‘Disposable earnings’ means that part of earnings
     remaining after all deductions required by law have been withheld.” 28 U.S.C. § 3002(5). “‘Nonexempt
27
     disposable earnings’ means 25 percent of disposable earnings, subject to section 303 of the Consumer
28   Credit Protection Act.” 28 U.S.C. § 3002(9).


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        Case 2:10-cr-00287-GMN-VCF             Document 342         Filed 09/01/17      Page 3 of 16




 1   28 U.S.C. 3202(c), the United States will serve Kellow and each person whom the United States

 2   has reasonable cause to believe has an interest in the property subject to the Writ of Garnishment.

 3          Dated this 31st day of August 2017.

 4                                                                 STEVEN W. MYHRE
                                                                   Acting United States Attorney
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 7                                                                 MARK E. WOOLF
                                                                   Assistant United States Attorney
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        Case 2:10-cr-00287-GMN-VCF              Document 342         Filed 09/01/17      Page 4 of 16       1



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 2

 3                                 UNITED STATES DISTRICT COURT
 4                                       DISTRICT OF NEVADA
 5    UNITED STATES OF AMERICA,                         )
                                                        ) Case No. 2:10-cr-00287-GMN-VCF
 6                    Plaintiff/Judgment Creditor,      )
                                                        )
 7            v.                                        ) ORDER
                                                        )
 8    JASON KELLOW,                                     )
                                                        )
 9                    Defendant/Judgment Debtor,        )
                                                        )
10    and                                               )
                                                        )
11    PETER LIK RETAIL USA, INC., and its               )
      successors or assigns,                            )
12                                                      )
                      Garnishee.                        )
13                                                      )
14          Before the Court is the United States’ Ex Parte Application for a Writ of Continuing

15   Garnishment. After consideration, the Court finds that the application meets the requirements of

16   28 U.S.C. § 3205. Accordingly,

17          IT IS HEREBY ORDERED that the Clerk of the Court issue a Writ of Garnishment to

18   the Garnishee and a Clerk’s Notice of Garnishment and provide them to the United States. The

19   Clerk shall maintain the Application for Writ of Garnishment and this Order with their ex parte

20   restriction until such time as the United States certifies that it has completed service of the writ

21   on the Garnishee. The United States shall promptly notify the Clerk when service of process is

22   complete.

23

24                                                   Cam Ferenbach
25                                                   United States Magistrate Judge
                                                     DATE:
26                                                     9-1-2017
27

28
  Case 2:10-cr-00287-GMN-VCF   Document 342   Filed 09/01/17   Page 5 of 16




                          Exhibit
Writ of Garnishment (and accompanying documents)

Clerk’s Notice of Post-Judgment Garnishment

Notice to Judgment Debtor On How to Claim Exemptions and
Further Instructions

Claim for Exemptions, Request for Hearing, and/or Request for
Transfer
        Case 2:10-cr-00287-GMN-VCF           Document 342          Filed 09/01/17   Page 6 of 16




 1

 2

 3                             UNITED STATES DISTRICT COURT
 4                                    DISTRICT OF NEVADA
 5
      UNITED STATES OF AMERICA,                   )
 6                                                ) Case No. 2:10-cr-00287-GMN-VCF
                     Plaintiff/Judgment Creditor, )
 7
                                                  ) WRIT OF
 8           v.                                   ) CONTINUING GARNISHMENT
                                                  )
 9    JASON KELLOW,                               )
                                                  )
10                   Defendant/Judgment Debtor, )
                                                  )
11
             and                                  )
12                                                )
      PETER LIK RETAIL USA, INC., and its         )
13    successor or assign,                        )
                                                  )
14                   Garnishee.                   )
15    ___________________________________ )

16   To the Garnishee:     Peter Lik Retail USA, Inc.
                           1645 Village Center Circle, Suite 170
17                         Las Vegas, NV 89134
18          An Application For Writ of Continuing Garnishment against the following described

19   earnings, money or property of the above named Defendant/Judgment Debtor has been filed

20   with the Court.

21          Whereupon the Court, having considered the Application for Writ of Continuing

22   Garnishment against the earnings of the Defendant/Judgment Debtor Jason Kellow, finds that

23   the requirements of 28 U.S.C. § 3205 are satisfied and that an appropriate Writ of Continuing

24   Garnishment shall, and hereby does, issue.

25   IT IS THEREFORE ORDERED THAT:

26          1.    A judgment has been entered against the above named Defendant/Judgment Debtor

27   in the amount of $1,100,000.00. As of August 30, 2017, $13,547.00 has been credited to the

28   account including the special assessment, leaving a balance due of $992,728.89 on the


                                                   1
        Case 2:10-cr-00287-GMN-VCF              Document 342       Filed 09/01/17     Page 7 of 16




 1   restitution, which includes $5,605.57 in accrued interest.

 2           2.      The Garnishee shall withhold and retain any earnings, money or property on which

 3   the debtor has a substantial nonexempt interest and for which the Garnishee is or may become

 4   indebted to the Judgment Debtor pending further order of this Court. Do not deliver property to

 5   the Court at this time. Withhold and retain property until such time as the Court orders its

 6   distribution.

 7           3.      The Garnishee is required by law pursuant to 28 U.S.C. §3205(c)(2)(E) to complete

 8   under oath the accompanying Answer of Garnishee within ten (10) days of receipt of this Writ

 9   of Continuing Garnishment, and file the original with:

10                    Clerk of the Court
                      U.S. District Court
11
                      333 Las Vegas Boulevard, South
12                    Room 1334
                      Las Vegas, Nevada 89101
13
             4.       The Garnishee is also required to send a copy to the Judgment Debtor at:
14
                      Jason Kellow
15                    10523 Bryn Haven Avenue
16                    Las Vegas, NV 89135

17   and a copy to:

18                    Mark E. Woolf
                      Assistant United States Attorney
19                    United States Attorney’s Office
20                    501 Las Vegas Boulevard South, Suite 1100
                      Las Vegas, Nevada 89101
21

22   Self-addressed envelopes are included for this purpose. If you fail to file an answer or withhold

23   property in accordance with this Writ, the United States may petition the Court for an order

24   requiring you to appear before this Court and answer this Writ and withhold property before

25   the appearance date. See 28 U.S.C. § 3205(c)(6). If you fail to answer, or appear and fail to

26   show good cause why you failed to comply with this Writ, the Court shall enter a judgment

27   against you for the value of the substantial nonexempt property that should have been withheld

28   and may award reasonable attorney fees to the United States. Id.


                                                      2
          Case 2:10-cr-00287-GMN-VCF          Document 342        Filed 09/01/17     Page 8 of 16




 1   6.      Garnishee is prohibited from discharging the Defendant/Judgment Debtor from

 2   employment by reason of the fact that his/her earnings have been subject to garnishment for any

 3   one indebtedness.

 4   See 15 U.S.C. § 1674.

 5           7.   Pursuant to 28 U.S.C. § 3205(c)(3), the United States shall serve the Garnishee and

 6   the Judgment Debtor with copies of this Writ of Continuing Garnishment and shall certify to

 7   the Court that such service was made. The Writ shall be accompanied by the instructions required

 8   by 28 U.S.C. § 3205(c)(3)(A) and (B).

 9           8. Under the law, there is property which may be exempt from this Writ of Garnishment.

10   Property which may be exempt is listed on the attached exemption list.

11

12
     Dated:_________________                                     DEBRA K. KEMPI
13                                                               Clerk, U.S. District Court

14
                                                                 By:_________________________
15                                                                     Deputy Clerk
16

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        Case 2:10-cr-00287-GMN-VCF             Document 342        Filed 09/01/17      Page 9 of 16




 1

 2

 3                              UNITED STATES DISTRICT COURT
 4                                     DISTRICT OF NEVADA
 5    UNITED STATES OF AMERICA,                   )
                                                  )      Case No. 2:10-cr-00287-GMN-VCF
 6                   Plaintiff/Judgment Creditor, )
                                                  )      CLERK’S NOTICE OF
 7           v.                                   )      POST-JUDGMENT
                                                  )      GARNISHMENT
 8    JASON KELLOW,                               )
                                                  )
 9                   Defendant/Judgment Debtor, )
                                                  )
10           and                                  )
                                                  )
11    PETER LIK RETAIL USA INC., and its          )
      successors or assign,                       )
12                                                )
                     Garnishee.                   )
13    ___________________________________ )
14          You are hereby notified that this property is being taken by the United States

15   Government, which has a court judgment in the above-entitled action in the sum of

16   $1,000,000.00 for restitution.

17          In addition, you are hereby notified that there are exemptions under the law which may

18   protect some of this property from being taken by the United States Government if

19   Defendant/Judgment Creditor Jason Kellow can show that the exemptions apply. Attached is a

20   summary of the major exemptions which may apply under federal law.

21          If you are Jason Kellow, you have a right to ask the court to return your property to you

22   if you think you do not owe the money to the Government as it claims, or if you think the property

23   the Government is taking qualifies under one of the exemptions on the attached list or if you

24   think you do not owe the money to the United States Government that it says you do.

25          If you want a hearing, you must notify the court within 20 days after you receive this

26   notice. Your request must be in writing. The hearing will take place within 5 days after the

27   request is received, or as soon thereafter as practicable. See 28 U.S.C. §3202(d). If you wish,

28   you may use the attachment entitled Affidavit of Exemptions and Request for Hearing. To


                                                     1
       Case 2:10-cr-00287-GMN-VCF             Document 342         Filed 09/01/17      Page 10 of 16




 1   request the hearing, fill out the information and check the appropriate box. You also need to

 2   indicate which exemption(s) from the attached list you are claiming and have your oath and

 3   signature notarized on the verification of the Affidavit. Attach the Claim for Exemption Form

 4   with the appropriate exemption(s) checked. You must either mail or deliver in person both forms

 5   (Affidavit of Exemptions and Request for Hearing form and Claim for Exemptions Form) to:

 6                  Clerk, United States District Court
                    333 Las Vegas Boulevard, South, Room 1334
 7
                    Las Vegas, Nevada 89101
 8   So the Government will know you want a hearing, you must also send a full copy of your request
 9   to the United States Attorney at:
10                  United States Attorney’s Office
11                  Attn: Financial Litigation Unit
                    501 Las Vegas Boulevard, South, Suite 1100
12                  Las Vegas, Nevada 89101
13           At the hearing you may explain to the judge why you think you do not owe the money to

14   the Government. If you do not request a hearing within 20 days of receiving this notice, your

15   property may be delivered to the United States Government to be applied toward your debt.

16           If you think you live outside the Federal judicial district in which the court is located,

17   you may request, not later than 20 days after you receive this notice, that this proceeding to take

18   your property be transferred by the court to the Federal judicial district in which you reside. You

19   must make your request in writing, and either mail it or deliver it in person to the clerk of the

20   court at:

21                  Clerk, United States District Court
                    333 Las Vegas Boulevard South, Room 1334
22                  Las Vegas, Nevada 89101
23   So the Government will know you want the proceeding to be transferred, you must also send a
24   copy of your request to the United States Attorney at:
25
                    United States Attorney’s Office
26                  Attn: Financial Litigation Unit
                    501 Las Vegas Boulevard, South, Suite 1100
27                  Las Vegas, Nevada 89101
28


                                                     2
       Case 2:10-cr-00287-GMN-VCF              Document 342         Filed 09/01/17      Page 11 of 16




 1          Be sure to keep a copy of this notice for your own records. If you have any questions

 2   about your right or about this procedure, you should contact a lawyer, an office of public

 3   assistance, or the clerk of the court. The clerk is not permitted to give legal advice, but can refer

 4   you to other sources of information.

 5   Dated:_________________                                        DEBRA K. KEMPI
                                                                    Clerk, U.S. District Court
 6

 7
                                                                    __________________________
 8                                                                  Clerk of Court
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  Case 2:10-cr-00287-GMN-VCF                 Document 342          Filed 09/01/17        Page 12 of 16



                        NOTICE TO JUDGMENT DEBTOR ON
               HOW TO CLAIM EXEMPTIONS AND FURTHER INSTRUCTIONS


        This post-judgment enforcement has been issued on request of the United States of America.

       The law provides that certain property and wages cannot be taken. Such property is said to be
exempted. The attached Claim for Exemption Form lists the exemptions available to you under federal
law. There is no exemption solely because you are having difficulty paying your debts.

          If you believe that the money or property about to be taken from you is exempt, you should
(i) fill out the claim for exemption form, (ii) sign and notarize the form, and (iii) deliver or mail the form
to the clerk's office of this court and send a copy to the counsel for the United States. This must be done
within 20 days after this Notice was served. You have a right to a hearing within five business days, or as
soon thereafter as practicable, from the date you file your claim with the court.

       If you request a hearing, you should come to court ready to explain why your property is exempted,
and you should bring any documents which may help you prove your case.

        If you have any questions about your rights or about this procedure, you should contact a lawyer,
an office of public legal assistance, or the Clerk of Court. The Clerk is not permitted to give legal advice,
but can refer you to other sources of information.

        OBJECTIONS TO ANSWER. The garnishee has 10 days to file and serve a copy of its original
answer to the writ of garnishment. Pursuant to 28 U.S.C. § 3205(c)(5), within 20 days after receipt of the
answer, either you or the United States may file a written objection to the answer and request a hearing. A
copy of the objection and request for a hearing shall be served on the garnishee and all other parties. The
court shall hold a hearing within 10 days after the date the request is received by the court, or as soon
thereafter as is practicable, and give notice of the hearing date to all parties.
  Case 2:10-cr-00287-GMN-VCF               Document 342          Filed 09/01/17       Page 13 of 16




                         CLAIM FOR EXEMPTION FORM
                 EXEMPTIONS UNDER FEDERAL LAW (18 U.S.C. § 3613)

        NOTE: 18 U.S.C. § 3613(a), the federal statute governing liens arising from criminal
        fines and restitution obligations, generally incorporates the exemptions available to
        individual taxpayers under the Internal Revenue Service Code.

        I claim that the exemption(s) from enforcement which are checked below apply in this
case:

____    1.      Wearing apparel and school books.--Such items of wearing apparel and such
                school books as are necessary for the debtor or for members of his family. See 26
                U.S.C. § 6334(a)(1).

_____2.         Fuel, provisions, furniture, and personal effects.--So much of the fuel, provisions,
                furniture, and personal effects in the Debtor's household, and of the arms for
                personal use, livestock, and poultry of the debtor, as does not exceed $9,200 in
                value. See 26 U.S.C. § 6334(a)(2).

_____3.         Books and tools of a trade, business, or profession.--So many of the books, and
                tools necessary for the trade, business, or profession of the debtor as do not
                exceed in the aggregate $4,600 in value. See 26 U.S.C. § 6334(a)(3).

_____4.         Unemployment benefits.--Any amount payable to an individual with respect to his
                unemployment (including any portion thereof payable with respect to dependents)
                under an unemployment compensation law of the United States, of any State, or
                of the District of Columbia or of the Commonwealth of Puerto Rico. See 26
                U.S.C. § 6334(a)(4).

_____5.         Undelivered mail.--Mail, addressed to any person, which has not been delivered
                to the addressee. 26 U.S.C. § 6334(a)(5).

_____6.         Certain annuity and pension payments.--Annuity or pension payments under the
                Railroad Retirement Act, benefits under the Railroad Unemployment Insurance
                Act, special pension payments received by a person whose name has been entered
                on the Army, Navy, Air Force, and Coast Guard Medal of Honor roll (38 U.S.C.
                1562), and annuities based on retired or retainer pay under Chapter 73 of Title 10
                of United States Code. See 26 U.S.C. § 6334(a)(6).

_____7.         Workmen's Compensation.--Any amount payable with respect to compensation
                (including any portion thereof payable with respect to dependents) under a
                workmen's compensation law of the United States, any State, the District of
                Columbia, or the Commonwealth of Puerto Rico. See 26 U.S.C. § 6334(a)(7).

_____8.         Judgments for support of minor children.--If the debtor is required by judgment of
                a court of competent jurisdiction, entered prior to the date of levy, to contribute to
  Case 2:10-cr-00287-GMN-VCF            Document 342        Filed 09/01/17      Page 14 of 16




               the support of his minor children, so much of his salary, wages, or other income
               as is necessary to comply with such judgment. See 26 U.S.C. § 6334(a)(8).

_____9.        Certain service-connected disability payments.-- Any amount payable to an
               individual as a service-connected (within the meaning of section 101(16) of Title
               38, United States Code) disability benefit under--(A) subchapter II, III,IV, V, or
               VI of Chapter 11 of such Title 38 or (B) Chapter 13, 21, 23, 31, 32, 34, 35,37, or
               39 of such Title 38. See 26 U.S.C. § 6334(a)(10).

_____10.       Assistance under Job Training Partnership Act.--Any amount payable to a
               participant under the Job Training Partnership Act (29 U.S.C. 1501 et seq.) from
               funds appropriated pursuant to such Act. See 26 U.S.C. § 6334(a)(12).


_____11.       Minimum exemptions for wages, salary and other income. The exemptions under
               26 U.S.C. § 6334(a)(9) do not apply in criminal cases. The exceptions under the
               Consumer Credit Protection Act, 15 U.S.C. § 1673, for disposable earnings,
               automatically apply and do not need to be claimed. The aggregate
               disposable earnings of an individual for any workweek which is subjected to
               garnishment may not exceed (1) 25 % of his disposable earnings for that week, or
               (2) the amount by which his disposable earnings for that week exceed thirty times
               the Federal minimum hourly wage in effect at the time the earnings are payable,
               whichever is less.

       Check on this form which exemption(s) from enforcement you are claiming, and attach to
the Affidavit of Exemptions and Request for Hearing, along with copies of your documentation.
The completed Affidavit with attachments must be signed, notarized and filed with the Clerk of
the Court.

       Within 20 days after this Notice was served, you must either mail or deliver this notarized
form in person to:

                              Clerk, United States District Court
                              333 Las Vegas Blvd. South, Room 1334
                              Las Vegas, Nevada 89101.

You must also send a copy of your request to the United States Attorney at:

                              United States Attorney's Office
                              Attn: Financial Litigation Unit
                              501 Las Vegas Blvd. South, Suite 1100
                              Las Vegas, Nevada 89101

IF YOU DO NOT MAIL, FILE, OR DELIVER THIS FORM WITHIN THE TIME SPECIFIED, YOUR
PROPERTY MAY BE SOLD AND THE MONEY GIVEN TO THE JUDGMENT CREDITOR, EVEN IF
THE PROPERTY OR MONEY IS EXEMPT.
          Case 2:10-cr-00287-GMN-VCF          Document 342       Filed 09/01/17     Page 15 of 16    12



 1

 2

 3                              UNITED STATES DISTRICT COURT
 4                                     DISTRICT OF NEVADA
 5   UNITED STATES OF AMERICA,                       )
                                                     )   Case No. 2:10-cr-00287-GMN-VCF
 6                    Plaintiff/Judgment Creditor,   )
                                                     )   CLAIM FOR EXEMPTIONS,
 7             v.                                    )   REQUEST FOR HEARING, AND/OR
                                                     )   REQUEST FOR TRANSFER
 8   JASON KELLOW,                                   )
                                                     )
 9                    Defendant/Judgment Debtor,     )
                                                     )
10   and                                             )
                                                     )
11   PETER LIK RETAIL USA, INC., and its             )
     successors or assigns,                          )
12                                                   )
                      Garnishee.                     )
13                                                   )
14   1.       Complete this paragraph if you claim the property executed upon is exempt:
15        ( ) (a) The property which has been executed upon is exempt from execution because it
          is:
16                (Check the applicable box or boxes):
17            □ Wearing apparel and school books
              □ Fuel, provisions, furniture, and personal effects up to the amount allowed by law
18            □ Books and tools of a trade, business or profession up to the amount allowed by law
              □ Unemployment benefits
19            □ Undelivered mail
              □ Certain Pensions
20            □ Workers’ Compensation
              □ Judgments for support of minor children
21            □ Certain service-connected disability payments
              □ Assistance under Job Training Partnership Act
22            □ Other (describe)
23

24

25
          ( ) (b) Check if applicable: I have attached copies of the documents that show my
26                property is exempt.
27   2.    Complete this paragraph if you believe the Writ of Continuing Garnishment was
     improperly issued:
28


                                                     1
       Case 2:10-cr-00287-GMN-VCF              Document 342      Filed 09/01/17     Page 16 of 16




 1    ( ) I believe that the Writ of Continuing Garnishment was issued improperly. Explain.

 2

 3

 4

 5

 6

 7      ( ) I claim ownership of all or part of the property taken and I am not one of the persons
           against whom a judgment has been entered.
 8
        ( ) I do not own the property taken.
 9
     3. ( ) I request a hearing in this matter.
10
     4. ( ) I request a transfer to                        (District) of
11         (State), which is where I reside.

12   5. ( ) I do not request a hearing in this matter.

13
           I verify under penalty of perjury that the foregoing statements made in this Affidavit of
14   Exemptions and Request for Hearing are true and correct.

15
            Dated this         day of                       2017.
16

17
                                                  Signature of Debtor
18
19                                                Printed Name

20

21
                                                  Mailing Address
22

23                                                Phone Number

24

25

26

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                                                    2
